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      Attorneys for Jason M. Rund
  7 Chapter 7 Trustee
  8                         UNITED STATES BANKRUPTCY COURT
  9
                               CENTRAL DISTRICT OF CALIFORNIA
 10
                                    LOS ANGELES DIVISION
 11
 12    In re                                   Case No. 2:20-bk-21020-BR

 13    THOMAS VINCENT GIRARDI,                 Chapter 7

 14                                  Debtor.   CHAPTER 7 TRUSTEE’S MOTION FOR
                                               ORDER:
 15                                            (1) AUTHORIZING EMPLOYMENT OF
 16                                            JOHN MORAN AUCTIONEERS, INC. AS
                                               AUCTIONEER; (2) AUTHORIZING SALE
 17                                            OF CERTAIN PERSONAL PROPERTY OF
                                               THE ESTATE; AND (3) AUTHORIZING
 18                                            ABANDONMENT OR DESTRUCTION OF
                                               CERTAIN PERSONAL PROPERTY OF
 19                                            THE ESTATE; MEMORANDUM OF
 20                                            POINTS AND AUTHORITIES;
                                               DECLARATIONS OF JASON M. RUND
 21                                            AND JEFFREY J. MORAN IN SUPPORT
                                               THEREOF
 22
                                               Hearing:
 23                                             DATE:      July 12, 2022
 24                                             TIME:      10:00 a.m.
                                                PLACE:     Courtroom 1668
 25                                                        Roybal Federal Building
                                                           255 E. Temple Street
 26                                                        Los Angeles, CA 90012
 27
 28

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  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY
  2 JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; AND OTHER
  3 INTERESTED PARTIES:
  4          Jason M. Rund, the Chapter 7 Trustee (the “Trustee”) for the estate of Thomas Vincent

  5 Girardi, the debtor herein (the “Debtor”), respectfully moves this Court for an order: (1)
  6 approving the Trustee’s employment of John Moran Auctioneers, Inc. (the “Auctioneer”) as
  7 auctioneer; (2) authorizing the Trustee, through the Auctioneer, to auction and sell certain
  8 personal property (the “Personal Property”) of the estate from the Debtor’s residence located at
  9 100 N. Los Altos Drive, Pasadena, California 91105 (the “Residence”); and (3) authorizing the
 10 Trustee to abandon or destroy any Personal Property, pursuant to 11 U.S.C. § 554, without
 11 further order of this Court, if it cannot be sold by the Auctioneer (the “Motion”).
 12          The Debtor’s Personal Property that the Trustee will seek to auction and sell includes the

 13 following: a Steinway piano, furniture, art, religious icons, statues, lamps, rugs, ceramics and
 14 glassware, clothing and shoes, and sports memorabilia.
 15          The Trustee seeks to employ the Auctioneer to sell the Personal Property at an auction.

 16 The Trustee seeks to employ the Auctioneer pursuant to 11 U.S.C. § 327(a) and to compensate
 17 the Auctioneer pursuant to 11 U.S.C. § 328 and LBR 6007-1(h).
 18          The Auctioneer will be charging a 6% commission plus a 25% buyer’s premium. Also,

 19 for each lot, there will be a 1% charge for insurance, $50 photography fee, merchant credit card
 20 fees that are paid by the buyers and potential fees for webhosts.1 The estate shall reimburse the
 21 Auctioneer’s expenses in connection with the drayage and transport of the Personal Property,
 22 not to exceed $7,000, which will be deducted from the auction proceeds. The Auctioneer will
 23 seek no additional compensation from the estate. Upon completion of the sale of the Auction
 24 Personal Property, and completion of the Auctioneer’s Report of Sale, the Trustee will file a
 25 declaration seeking Court approval for the Report of Sale and authority to pay the Auctioneer its
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                 Details of the costs can be found on johnmoran.com/conditions-of-sale/.
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  1 fee. The Auctioneer has been advised of and has agreed to accept the proposed employment
  2 subject to the provisions of 11 U.S.C. § 328(a).
  3           The Personal Property will be moved from the Residence to the Auctioneer’s business

  4 premises at 145 East Walnut Avenue, Monrovia, California 91016. The auction, which will be
  5 live online via internet and telephone, will take place on September 21, 2022. The marketing
  6 plan for the auction includes:
  7           . Dedicated press-release with nationwide distribution about the collection.

  8           . In-house email to John Moran Auctioneers full database of clients.

  9           . Posting of Girardi Collection on John Moran Auctioneers social media accounts

 10           (Facebook, Instagram, LinkedIn).

 11           . Hosting and sale of the property through John Moran Auctioneers.com,

 12           LiveAuctioneers.com, and Invaluable.com/AuctionZip.com.            (LiveAuctioneers and

 13           Invaluable/AuctionZip are the largest third-party auction host platforms available to

 14           auction houses with hundreds of thousands of users.)

 15           . Supplementary paid marketing on LiveAuctioneers and Invaluable, which would

 16           consist of items such as, but not limited to homepage features and email marketing to

 17           their user databases.

 18           . Targeted ads on Facebook/Instagram/Google.

 19           The Auctioneer estimates that the Personal Property has a combined auction value of

 20 approximately $191,300 to $280,700.
 21           Additionally, pursuant to 11 U.S.C. § 554, the Trustee seeks authority to abandon any

 22 Personal Property that was not sold by the Auctioneer, without further order of the Court.
 23 Further, should there be any records containing “personally identifiable information” as defined
 24 in section 101(41A), the Trustee seeks authority to destroy them and pay for the costs from
 25 estate funds.
 26           WHEREFORE, the Trustee respectfully requests that this Court enter an order:

 27           1.     Approving the Trustee’s employment of the Auctioneer on the terms set forth

 28 herein;

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  1          2.     Authorizing the Trustee, through the Auctioneer, to auction and sell the Personal

  2 Property for the benefit of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 363;
  3          3.     Authorizing the Trustee to pay the Auctioneer’s commission, buyer’s premium

  4 and expenses upon receipt and approval by the Trustee of the Report of Auctioneer;
  5          4.     Providing that the Trustee is authorized and empowered to execute and deliver on

  6 behalf of the estate any and all documents as reasonably may be necessary to implement the
  7 terms of the proposed sale;
  8          5.     Authorizing the Trustee to (a) abandon or donate any Personal Property that

  9 cannot be sold by the Auctioneer, without further order of the Court and (b) to the extent there
 10 are records containing “personally identifiable information” as defined in section 101(41A),
 11 authorizing the Trustee to destroy them and pay for the costs from estate funds;
 12          6.     Providing that the notice given by the Trustee in connection with the Motion,

 13 which was filed concurrently herewith, is adequate, sufficient, proper and complies with all
 14 applicable provisions of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure;
 15          7.     Waiving the 14-day stay provided by Rule 6004(h) of the Federal Rules of

 16 Bankruptcy Procedure; and
 17          8.     Granting such other and further relief as is just and appropriate.

 18
      DATED: June 21, 2022                         LEVENE, NEALE, BENDER, YOO &
 19                                                GOLUBCHIK L.L.P.
 20                                                By: /s/ Carmela T. Pagay
 21                                                       CARMELA T. PAGAY
                                                           Attorneys for Jason M. Rund
 22                                                              Chapter 7 Trustee

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  1                      MEMORANDUM OF POINTS AND AUTHORITIES

  2                                                   I.

  3                                      BACKGROUND FACTS

  4          1.      An Involuntary Petition was filed against Thomas Vincent Girardi, debtor herein

  5 (“Debtor”), on December 18, 2020. The petitioning creditors filed an emergency motion for
  6 appointment of an interim trustee on December 24, 2020 [Doc 13], which was granted by the
  7 Court on January 5, 2021 [Doc 39]. On January 6, 2021, the United States Trustee appointed
  8 Jason M. Rund (“Trustee”) as the Chapter 7 trustee.
  9          2.      The Debtor is on title to the real property located at 100 N. Los Altos Drive,

 10 Pasadena, California 91105 (the “Residence”). Located at the Residence are various items of
 11 personal property (the “Personal Property”) of the Debtor that the Trustee will seek to auction
 12 and sell including the following: a Steinway piano, furniture, art, religious icons, statues, lamps,
 13 rugs, ceramics and glassware, clothing and shoes, and sports memorabilia.
 14          3.      One purpose of this Motion is to obtain Court authority to employ John Moran

 15 Auctioneers, Inc. (the “Auctioneer”) to move and secure the Personal Property at its place of
 16 business located at 145 East Walnut Avenue, Monrovia, California 91016 and sell the Personal
 17 Property live online via internet and telephone on September 21, 2022. Items that are
 18 burdensome or of inconsequential value will be left at the Residence and will be deemed
 19 abandoned after the Auction.
 20          4.      The Auctioneer estimates that the Personal Property has a combined auction

 21 value of approximately $191,300 to $280,700.
 22          5.      A UCC search report for liens against the Debtor’s personal property, inclusive

 23 of the Personal Property located at the Residence that is to be sold at the proposed auction, is
 24 attached hereto as Exhibit “1.” The UCC search report indicates that California Attorney
 25 Lending II, Inc., a New York corporation (“CAL II”) has a blanket lien on the Debtor’s assets,
 26 including the Personal Property. However, the Trustee and CAL II have reached a settlement
 27 concerning the Trustee’s sale of certain assets of the estate that are subject to CAL II’s lien.
 28 Such settlement was approved by Court order entered on June 22, 2021 [Doc 224]. Under the

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  1 settlement, 80% of the net proceeds from the sale of the Personal Property (after payment of
  2 administrative expenses) will be paid to CAL II and 20% will be paid to the Trustee to be held
  3 in trust for the allowed unsecured claimants of the bankruptcy estate.
  4          6.        Another purpose of this Motion is to obtain Court authority to abandon or donate

  5 to a non-profit organization any Personal Property that could not be sold by the Auctioneer,
  6 without further order of the Court. Further, should there be any records containing “personally
  7 identifiable information” as defined in Section 101(41A), the Trustee seeks authority to destroy
  8 them and pay for the costs from estate funds.
  9                                                      II.

 10                            APPLICATION TO EMPLOY AUCTIONEER

 11          A.        Terms of Employment of Auctioneer and Auction.

 12          The Trustee seeks to employ the Auctioneer to auction and sell the Personal Property on

 13 his behalf. The Auctioneer has extensive experience and background in conducting sales and
 14 auctions of the sort contemplated herein and is well-qualified to conduct the sale and auction for
 15 the Trustee. Attached hereto as Exhibit “2” is a copy of the Auctioneer’s Proposal and résumé
 16 outlining its extensive background and experience. In accordance with the Revised Supervisory
 17 Instruction #10 concerning employment of auctioneer promulgated by the Office of the United
 18 States Trustee (“OUST”), Region 16, the Trustee proposes to employ the Auctioneer to pursue
 19 the auction and sales in accordance with the following terms and conditions set forth in the
 20 Auctioneer’s proposal:
 21          1.        The Auctioneer will be charging a 6% commission plus a 25% buyer’s premium.

 22 Also, for each lot, there will be a 1% charge for insurance, $50 photography fee, merchant credit
 23 card fees that are paid by the buyers and potential fees for webhosts.2 The estate shall reimburse
 24 the Auctioneer’s expenses in connection with the drayage and transport of the Personal
 25 Property, not to exceed $7,000, which will be deducted from the auction proceeds. The
 26 Auctioneer will seek no additional compensation from the estate. Upon completion of the sale
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                 Details of the costs can be found on johnmoran.com/conditions-of-sale/.
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  1 of the Personal Property, and completion of the Auctioneer’s Report of Sale, the Trustee will
  2 file a declaration seeking Court approval for the Report of Sale and authority to pay the
  3 Auctioneer its fee. The Auctioneer has been advised of and has agreed to accept the proposed
  4 employment subject to the provisions of 11 U.S.C. § 328(a).
  5         2.        The auction, which will be live online via internet and telephone, will take place

  6 on September 21, 2022. Notice of the date and time of the auction will be provided to all
  7 creditors and parties in interest. The marketing plan for the auction includes:
  8                  Dedicated press-release with nationwide distribution about the collection.

  9                  In-house email to John Moran Auctioneers full database of clients.

 10                  Posting of Girardi Collection on John Moran Auctioneers social media accounts

 11                   (Facebook, Instagram, LinkedIn)

 12                  Hosting and sale of the property through John Moran Auctioneers.com,

 13                   LiveAuctioneers.com, and Invaluable.com/AuctionZip.com. (LiveAuctioneers

 14                   and Invaluable/AuctionZip are the largest third-party auction host platforms

 15                   available to auction houses with hundreds of thousands of users.)

 16                  Supplementary paid marketing on LiveAuctioneers and Invaluable, which would

 17                   consist of items such as, but not limited to homepage features and email

 18                   marketing to their user databases.

 19                  Targeted ads on Facebook/Instagram/Google.

 20         3.        Prospective purchasers can inspect the Personal Property between 12 to 4 pm on

 21 September 16, 17, 18 and 19 of 2022 with additional private views by appointment.
 22         4.        The Trustee will personally monitor the auction, and will respond to any

 23 complaints regarding the auction.
 24         5.        The Personal Property shall be sold without reserve on an “as is” and “where is”

 25 and without any representations or warranties, express or implied.
 26         6.        All purchases shall be paid in full, by credit cards, cashier or business checks or

 27 wire transfers.
 28         7.        Following the auction and sale, the Auctioneer shall turn over any and all gross

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  1 proceeds from the auction, including the buyer’s premium, to the Trustee within 7 days after any
  2 auction of estate property. In addition, no later than 21 days after the auction, the Auctioneer
  3 shall prepare and submit to the Trustee a “Report of Auctioneer” (the “Auction Report”), which
  4 will include the following information: the date of the sale; each item sold; the sale price; the
  5 name, address and telephone number of the purchaser; in the case of lots, a brief description of
  6 each lot sold as well as the sale price and purchaser; the gross proceeds from the sale; a
  7 statement that the gross proceeds have been turned over to the Trustee; and a descriptive list of
  8 the items that were not sold but which were returned to the Trustee. Within 7 days of the
  9 Trustee’s receipt of the Auction Report, the Trustee shall file the Auction Report with the Court,
 10 together with a brief declaration stating that (a) the Trustee has compared the Auction Report to
 11 the list of items/lots sold, (b) the Auction Report is satisfactory, (c) the Auctioneer has been
 12 compensated pursuant to the Auction Report, (d) the gross funds have been turned over to the
 13 Trustee, and (d) the Trustee is requesting that the Court exonerate the Auctioneer’s bond.
 14          8.      The Trustee has verified that the Auctioneer has complied with all applicable

 15 bonding requirements. The Auctioneer’s blanket bond, in favor of the United States of America
 16 and in the amount of $25,000, is on file with the Clerk of the Bankruptcy Court for the Central
 17 District of California. In addition, an individual bond in an amount sufficient to protect the
 18 value of the Personal Property to be auctioned has also been provided. Copies of the bonds are
 19 attached hereto as “Exhibit 3.”
 20          9.      The Trustee believes that the employment of the Auctioneer in accordance with

 21 the above terms is in the best interest of this estate. The Auctioneer estimates that the sale and
 22 auction of the Personal Property will yield the estate between $135,000 and $207,000, after
 23 payment of the Auctioneer’s commission and expenses.
 24          B.      The Auctioneer Does Not Hold Or Represent An Interest Adverse To The
                     Estate And Is A Disinterested Person.
 25
             The Auctioneer has read and understands the provisions of sections 327 and 328 of the
 26
      Bankruptcy Code, which require, among other things, Bankruptcy Court approval of the
 27
      Auctioneer’s employment and court authorization of all fees and costs that the Auctioneer may
 28

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  1 be entitled to receive from the estate.
  2          The Trustee is informed and believes, and based thereon alleges, that other than as

  3 disclosed herein, the Auctioneer has no connection with the Trustee, the Debtor, his creditors,
  4 the OUST, or any employees of the OUST, bankruptcy judges or any other party in interest, and
  5 hence, that it neither represents nor holds an interest adverse to the estate and is a disinterested
  6 person as that term is used in the Bankruptcy Code. Based upon the Declaration of Jeffrey J.
  7 Moran (“Moran Decl.”), the Auctioneer holds no pre-petition claims against the estate.
  8          To the best of Trustee's knowledge and based upon the Moran Decl., neither the

  9 Auctioneer nor any of its associates or employees represent any interest adverse to that of the
 10 Trustee or the estate in the matters on which it is to be retained, and its principals, licensees,
 11 agents, associates and employees are disinterested persons under § 101(14) of the Bankruptcy
 12 Code.
 13          The conclusion that the Auctioneer is disinterested is based upon the fact that to the best

 14 of the Trustee’s knowledge, based upon the Moran Decl., the Auctioneer:
 15          1.     Is not a creditor, an equity security holder or an insider of the Debtor;

 16          2.     Is not and was not, within 2 years before the date of the filing of the petition, a

 17 director, officer, or employee of the Debtor; and
 18          3.     Does not have an interest materially adverse to the interest of the estate or of any

 19 class of creditors or equity security holders, by reason of any direct or indirect relationship to,
 20 connection with, or in, the Debtor or for any other reason.
 21          Consequently, the Trustee asks the Court to find that the Auctioneer is “disinterested”

 22 under § 101(14) of the Bankruptcy Code.
 23                                                  III.

 24    MOTION FOR AUTHORITY TO SELL PERSONAL PROPERTY OF THE ESTATE

 25          A.     Section 363(b)(1) of the Bankruptcy Code Permits the Trustee to Sell
                    Property of the Estate Other than in the Ordinary Course of Business.
 26
             Section 363 of the Bankruptcy Code provides as follows:
 27
                    The trustee, after notice and a hearing, may use, sell, or lease, other
 28                 than in the ordinary course of business, property of the estate. . .

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  1 11 U.S.C. § 363(b)(1).
  2          The trustee’s application of his or her sound business judgment in the use, sale, or lease

  3 of such property is subject to great judicial deference. See In re Moore, 110 B.R. 924 (Bankr.
  4 C.D. Cal. 1990); In re Canyon Partnership, 55 B.R. 520 (Bankr. S.D. Cal. 1985).
  5          In determining whether any sale of assets out of the ordinary course of business should

  6 be approved, bankruptcy courts usually consider the following factors:
  7          1.      Whether a sufficient business reason exists for the sale;

  8          2.      Whether the proposed sale is in the best interests of the estate, which in turn

  9 consists of the following factors:
 10               a. That terms of the sale are fair and reasonable;

 11               b. That the proposed sale has been adequately marketed;

 12               c. That the proposed sale terms have been properly negotiated and proposed in good

 13 faith; and
 14               d. That the purchaser is involved in an “arms-length” transaction with the seller.

 15          3.      Was notice of the sale sufficient.

 16 See generally In re Walter, 83 B.R. 14, 19-20 (9th Cir. BAP 1988) (“there must be some
 17 articulated business justification for using, selling, or leasing the property outside the ordinary
 18 course of business . . . As the Second Circuit held in Lionel [In re Lionel Corp., 722 F.2d 1063
 19 (2d Cir.1983)], the bankruptcy judge should consider all salient factors pertaining to the
 20 proceeding and, accordingly, act to further the diverse interests of the debtor, creditors and
 21 equity holders, alike . . .”).
 22          The proposed auction and sale in this case clearly meets these standards. The sale of the

 23 Personal Property will provide funds from which unsecured creditors may be paid. The Personal
 24 Property has been inspected by an experienced auctioneer, who opines that the auction value of
 25 the Auction Personal Property is between $191,300 to $280,700. Accordingly, after payment of
 26 the Auctioneer’s commissions and expenses, the estate should receive net proceeds between
 27 $135,000 and $207,000. Other costs include the fees of the Trustee (approximately $7,500 per
 28 section 326 of the Bankruptcy Code), the estate’s counsel (approximately $8,000 for fees

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  1 associated with the auction) and accountant (approximately $3,500). As discussed above,
  2 pursuant to the settlement with CAL II, 20% of the net proceeds from the sale of the Personal
  3 Property (after payment of administrative expenses) will be paid to the Trustee to be held in
  4 trust for the allowed unsecured claimants of the bankruptcy estate. Without the settlement, there
  5 would be no auction.
  6          Based upon the foregoing, the Trustee submits that the proposed sale and auction of the

  7 Personal Property satisfies the standards for approval of a sale of assets out of the ordinary
  8 course of business pursuant to § 363(b) of the Bankruptcy Code.
  9          B.      Abandonment of Certain Personal Property Is Appropriate Under Section
                     554 of the Bankruptcy Code If They Cannot Be Sold.
 10
             Section 554(a) of the Bankruptcy Code provides as follows:
 11
                     After notice and a hearing, the trustee may abandon any property
 12                  of the estate that is burdensome to the estate or that is of
                     inconsequential value and benefit to the estate.
 13
      11 U.S.C. § 554(a).
 14
             A bankruptcy trustee may abandon an estate’s interest in property if the costs of
 15
      administration of the property would exceed the benefit or value of the property to the estate,
 16
      making it burdensome to the estate and of inconsequential value and benefit to the estate. See In
 17
      re Alsberg, 161 B.R. 680, 683 (B.A.P. 9th Cir. 1993).
 18
             Should the Auctioneer be unable to sell any of the Personal Property, it would be of
 19
      inconsequential value and benefit to the estate considering. Indeed, the failure to secure a buyer
 20
      for any particular Personal Property asset the after a well-publicized auction demonstrates that
 21
      such item of Personal Property is of inconsequential value and benefit to the estate.
 22
             Based on the foregoing, pursuant to section 554(a) of the Bankruptcy Code, without
 23
      further order of the Court, any unsold Personal Property (including those left at the Residence)
 24
      should be deemed abandoned. Further, should there be any records containing “personally
 25
      identifiable information” as defined in section 101(41A), the Trustee seeks authority to destroy
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      them and pay for the costs from estate funds.
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  1             D.     The Trustee Requests That The Court Waive The 14-day Stay Pursuant to
                       Rule 6004(h) of the Federal Rules of Bankruptcy Procedure.
  2
                Bankruptcy Rule 6004(h) provides: “An order authorizing the use, sale, or lease of
  3
      property other than cash collateral is stayed until the expiration of 14 days after entry of the
  4
      order, unless the court orders otherwise.” In the instant case, the Trustee respectfully requests
  5
      that the Court waive the stay provided by Rule 6004(h), to ensure that the sale can proceed when
  6
      noticed by the Trustee and as marketed by the Auctioneer.
  7
                                                      IV.
  8
                                                CONCLUSION
  9
                WHEREFORE, the Trustee respectfully requests that this Court enter an order:
 10
                1.     Approving the Trustee’s employment of the Auctioneer on the terms set forth
 11
      herein;
 12
                2.     Authorizing the Trustee, through the Auctioneer, to auction and sell the Personal
 13
      Property for the benefit of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 363;
 14
                3.     Authorizing the Trustee to pay the Auctioneer’s commission, buyer’s premium
 15
      and expenses upon receipt and approval by the Trustee of the Report of Auctioneer;
 16
                4.     Providing that the Trustee is authorized and empowered to execute and deliver on
 17
      behalf of the estate any and all documents as reasonably may be necessary to implement the
 18
      terms of the proposed sale;
 19
                5.     Authorizing the Trustee to (a) abandon or donate to a non-profit organization any
 20
      Personal Property that cannot be sold by the Auctioneer, without further order of the Court and
 21
      (b) to the extent there are records containing “personally identifiable information” as defined in
 22
      section 101(41A), authorizing the Trustee to destroy them and pay for the costs from estate
 23
      funds;
 24
                6.     Providing that the notice given by the Trustee in connection with the Motion,
 25
      which was filed concurrently herewith, is adequate, sufficient, proper and complies with all
 26
      applicable provisions of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure;
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  1         7.    Waiving the 14-day stay provided by Rule 6004(h) of the Federal Rules of

  2 Bankruptcy Procedure; and
  3         8.    Granting such other and further relief as is just and appropriate.

  4
      DATED: June 16, 2022                       LEVENE, NEALE, BENDER, YOO &
  5                                              GOLUBCHIK L.L.P.
  6                                              By: /s/ Carmela T. Pagay
  7                                                     CARMELA T. PAGAY
                                                         Attorneys for Jason M. Rund
  8                                                      Chapter 7 Trustee

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  1                              DECLARATION OF JASON M. RUND

  2          I, Jason M. Rund, declare as follows:

  3          1.      I am over 18 years of age. Except where otherwise stated, I have personal

  4 knowledge of the matters set forth herein and, if called as a witness, could and would testify
  5 competently thereto.
  6          2.      I am the duly-appointed, qualified, and acting Chapter 7 Trustee for the

  7 bankruptcy estate of Thomas Vincent Girardi, the debtor herein (the “Debtor”). I make this
  8 declaration in support of the motion to which this declaration is attached (the “Motion”).
  9          3.      The Debtor is on title to the real property located at 100 N. Los Altos Drive,

 10 Pasadena, California 91105 (the “Residence”). Located at the Residence are various items of
 11 personal property (the “Personal Property”) of the Debtor that the Trustee will seek to auction
 12 and sell including the following: a Steinway piano, furniture, art, religious icons, statues, lamps,
 13 rugs, ceramics and glassware, clothing and shoes, and sports memorabilia.
 14          4.      On February 24, 2021, Jeffrey J. Moran of John Moran Auctioneers, Inc. (the

 15 “Auctioneer”) went to the Residence to view the Personal Property.
 16          5.      The Auctioneer estimates that the Personal Property at the Residence has a

 17 combined auction value of approximately $191,300 to $280,700. Accordingly, after payment of
 18 the Auctioneer’s commissions and expenses the estate should receive net proceeds between
 19 $135,000 and $207,000. Other costs include my fees (approximately $7,500 per section 326),
 20 the estate’s counsel (approximately $8,000 for fees associated with the auction) and accountant
 21 (approximately $3,500).
 22          6.      Based on the net proceeds available for the benefit of the estate as discussed in

 23 the Motion, I believe it is appropriate to liquidate the Personal Property pursuant to § 363 of the
 24 Bankruptcy Code.
 25          7.      Based on the foregoing regarding the Personal Property, I seek authority to

 26 abandon or donate to a non-profit organization any Personal Property that could not be sold by
 27 the Auctioneer. Further, should there be any records containing “personally identifiable
 28 information” as defined in section 101(41A), I seek authority to destroy them and pay for the

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  1 costs from estate funds.
  2          8.     A UCC search report for liens against the Debtor’s personal property, inclusive

  3 of the Personal Property located at the Residence that is to be sold at the proposed auction, is
  4 attached hereto as Exhibit “1.” The UCC search report indicates that California Attorney
  5 Lending II, Inc., a New York corporation (“CAL II”) has a blanket lien on the Debtor’s assets,
  6 including the Personal Property. However, CAL II and I have reached a settlement concerning
  7 my sale of certain assets of the estate that are subject to CAL II’s lien. Such settlement was
  8 approved by Court order entered on June 22, 2021 [Doc 224]. Under the settlement, 80% of the
  9 net proceeds from the sale of the Personal Property (after payment of administrative expenses)
 10 will be paid to CAL II, and 20% will be paid to me to be held in trust for the allowed unsecured
 11 claimants of the bankruptcy estate.
 12          9.     I seek to employ the Auctioneer to undertake auctions and sales of the Personal

 13 Property on behalf of the Chapter 7 estate. The Auctioneer has extensive experience and
 14 background in conducting sales auctions of the sort contemplated herein, and is well-qualified to
 15 conduct the auction for the estate. The auction will take place at the auctioneer’s business
 16 premises on September 21, 2022. I will personally monitor the auction and address any
 17 complaints regarding the auction.
 18          10.    I have informed the Auctioneer that he shall turn over any and all gross proceeds

 19 from the auction, including the buyer’s premium, to me within 7 days after any auction of estate
 20 property. In addition, I have informed the Auctioneer that no later than 21 days after the
 21 auction, the Auctioneer shall prepare and submit to me a “Report of Auctioneer” (the “Auction
 22 Report”), which will include the following information: the date of the sale; each item sold; the
 23 sale price; the name, address and telephone number of the purchaser; in the case of lots, a brief
 24 description of each lot sold as well as the sale price and purchaser; the gross proceeds from the
 25 sale; a statement that the gross proceeds have been turned over to the estate; and a descriptive
 26 list of the items that were not sold but which were returned to the estate.
 27          11.    Within 7 calendar days of my receipt of the Auction Report, I will file the

 28 Auction Report with the Court, together with a brief declaration stating that (a) I have compared

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  1                           DECLARATION OF JEFFREY J. MORAN

  2          I, Jeffrey J. Moran, do hereby declare:

  3          1.     I am over 18 years of age. Except where otherwise stated, I have personal

  4 knowledge of the matters set forth herein and, if called as a witness, could and would testify
  5 competently thereto.
  6          2.     I make this declaration in support of the Motion to which this declaration is

  7 attached. Capitalized terms not defined herein have the meanings ascribed to them in the
  8 Motion.
  9          3.     I am the president of the Auctioneer, which the Trustee seeks to employ by the

 10 Motion. Attached hereto as “Exhibit 2” and incorporated herein is a copy of the Proposal and
 11 my résumé, more fully setting forth my expertise.
 12          4.     The other agents, and support staff who will handle this matter, including myself,

 13 are experienced in marketing and auctioning of similar kind and condition as that of the Auction
 14 Personal Property and are thus well qualified to assist in the promotion and auction of the
 15 Personal Property. As indicated in the résumé attached hereto, I specialize in the listing,
 16 promotion, negotiation, and auctions of personal property similar to the Personal Property.
 17          5.     To the best of my knowledge, and except as disclosed in this declaration, the

 18 Auctioneer and I are not connected with the Trustee, the Debtor, any creditor or other person in
 19 interest, or their respective attorneys, the United States Trustee or employees of the United
 20 States Trustee, bankruptcy judges, or with the Debtor’s bankruptcy estate in the matters on
 21 which the Auctioneer is to be employed.
 22          6.     I am informed and believe that my firm and its agents, associates, and employees

 23 are disinterested persons as the term is defined in 11 U.S.C. § 101(14), and I:
 24                 a.      Am not a creditor, an equity security holder or an insider of the Debtor;

 25                 b.      Am not and was not, within 2 years before the date of the filing of the

 26                 petition, a director, officer, or employee of the Debtor;

 27                 c.      Am not and was not an investment banker for any outstanding security of

 28 the Debtor;

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  1                 d.      Am not and have not been within 3 years before the date of the filing of

  2 the petition, an investment banker for a security of the Debtor, or an attorney for such an
  3 investment bank in connection with the offer, sale or issuance of any security of the Debtor; and
  4                 e.      Do not have an interest materially adverse to the interest of the estate or

  5 of any class of creditors or equity security holders, by reason of any direct or indirect
  6 relationship to, connection with, or in, the Debtor or for any other reason.
  7          7.     The Auctioneer is not a pre-petition creditor of this estate.

  8          8.     The Auctioneer has been advised of and have agreed to accept the proposed

  9 employment subject to the provisions of 11 U.S.C. § 328(a). The Auctioneer understands that
 10 the Bankruptcy Court may allow compensation different from the compensation set forth herein
 11 if the Court subsequently determines that such agreed upon terms are improvident in light of
 12 developments that could not have been anticipated at the time the Motion was approved.
 13          9.     The Auctioneer has complied with all applicable bonding requirements. The

 14 Auctioneer has obtained a blanket bond in the amount of $25,000 in favor of the United States
 15 of America. A copy of the bond has been sent to the Office of the United States Trustee and the
 16 original bond has been sent for filing with the Clerk of the Bankruptcy Court (Los Angeles
 17 Division). In addition, an individual bond in an amount sufficient to protect the value of the
 18 Personal Property to be auctioned has also been provided. True and correct copies of the bonds
 19 are attached hereto as “Exhibit 3” and are incorporated herein by reference.
 20          10.    At the Trustee’s request, on February 22, 2021, I went to the Debtor’s Residence

 21 and inspected the Personal Property. I estimate that the Personal Property has a combined
 22 auction value of approximately $191,300 to $280,700.
 23          11.    The auction of the Personal Property will be conducted live on September 21,

 24 2022 at the business premises of the Auctioneer. Buyers will bid via internet and telephone.
 25 Prospective purchasers can inspect the Personal Property between 12 to 4 pm on September 16,
 26 17, 18 and 19 of 2022 with additional private views by appointment.
 27          12.    The Auctioneer will be charging a 6% commission plus a 25% buyer’s premium.

 28 Also, for each lot, there will be a 1% charge for insurance, $50 photography fee, merchant credit

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  1 card fees that are paid by the buyers and potential fees for webhosts.3 The estate shall reimburse
  2 the Auctioneer’s expenses in connection with the drayage and transport of the Personal
  3 Property, not to exceed $7,000, which will be deducted from the auction proceeds. The
  4 Auctioneer will seek no additional compensation from the estate.
  5          13.       The Auctioneer will turn over the gross proceeds from the auction no later than 7

  6 days after the auction. In addition, no later than 21 days after the auction, the Auctioneer will
  7 prepare and submit to the Trustee an Auction Report, which will include the following
  8 information: the date of the sale; each item sold; the sale price; the name, address and telephone
  9 number of the purchaser; in the case of lots, a brief description of each lot sold as well as the
 10 sale price and purchaser; the gross proceeds from the sale; a statement that the gross proceeds
 11 have been turned over to the Trustee; and a descriptive list of the items that were not sold but
 12 which were returned to the Trustee.
 13          I declare under penalty of perjury pursuant to the laws of the United States of America

 14 that the foregoing is true and correct and that this Declaration was executed June 16, 2022, at
 15 Monrovia, California.
 16
 17                                                    _____________________________
                                                       JEFFREY J. MORAN
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             3
                 Details of the costs can be found on johnmoran.com/conditions-of-sale/.
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                            EXHIBIT “2”
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                                           CONSIGNMENT AGREEMENT
Customer Number: 141573

                    Jason M. Rund, Chapter 7 trustee for the bankruptcy estate of Thomas Vincent Girardi
Consignor:          (“Trustee”), Case No. 2:20-bk-21020-BR (“Bankruptcy Case”)
Payable to:
(if other)
Address:             840 Apollo Street, Suite 351, El Segundo, CA 90245



Phone/Cell:         (310) 640-1200

Fax/Email:          jrund@srlawyers.com


1. THANK YOU, Jason M. Rund, Chapter 7 trustee for the bankruptcy estate of Thomas Vincent Girardi, Case No.
   2:20-bk-21020-BR (the “Consignor”) for consigning property (the “Property”) to John Moran Auctioneers, Inc.
   (“Moran”) for sale at auction. The Consignor hereby consigns to Moran, as their exclusive agent of sale, the Property
   identified on the subsequent Inventory Receipts (the “Receipt”). Unless specified on the Receipt, the following terms
   and conditions apply to all consignments made under this Consignment Agreement (the “Agreement”). This
   Agreement is subject to the approval of the United State Bankruptcy Court, Central District of California, Los
   Angeles Division, Case Number 2:20-bk-210210-BR (“Bankruptcy Court”).

2. THE CONSIGNOR’S REPRESENTATIONS AND WARRANTIES. The Consignor represents and warrants as
   follows:

         a.   the Consignor is authorized to consign and sell the Property pursuant to an order to be obtained from
              Bankruptcy Court.

         b. the Property will be sold free and clear of any and all encumbrances, liens, and claims other than those
            recognized by the Bankruptcy Court;

         c.   the Consignor has no information in its possession, custody or control that would lead to a reasonable
              conclusion that any of the Property is inauthentic or counterfeit;

         d. the Consignor is authorized to sell the Property pursuant to an order to be obtained from the Bankruptcy
            Court;

         e.   title to the Property will pass to the buyer pursuant to the order to be obtained from the Bankruptcy Court;
              and

         f.   the Property is sold “as is” without representations or warranties.

3. CONSIGNMENT PROCESS. At the time of consignment, Moran will place a pre-auction estimate on the Property.
   These estimates are intended as guides for prospective bidders and are in no way a representation or warranty by


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    Moran as to the anticipated selling price. Estimates are preliminary and Moran shall have absolute discretion to revise
    them. By consigning the Property, the Consignor gives Moran sole discretion in researching (including third-party
    consultations), grouping the Property into lots, cataloguing, sale and lot placement, illustration, condition reporting,
    and marketing pertaining to the Property. Moran makes no warranties with respect to the authenticity, genuineness,
    or overall description of the Property and shall not be responsible for any errors or omissions in describing the
    Property in the catalogue or advertising. A transportation fee not to exceed $7,000 to cover the cost of moving the
    receipted property from its present location to Moran’s location will be remitted to Moran upon final settlement. The
    Consignor agrees to pay a $50 photography fee. Moran shall retain copyright to any visual, audio or printed media
    of the Property produced by them. The Consignor authorizes Moran to charge the buyer for Moran’s account a
    commission on each lot sold (the “Buyer's Premium”), as identified in Moran’s Conditions of Sale then in effect at
    the time of sale, a copy of which the Consignor acknowledges it has reviewed, and which is incorporated herein by
    reference. Applicable sales tax will be added to the Hammer Price, as defined in Section 4 of this Agreement, plus
    Buyer’s Premium and will be paid by the buyer. The Consignor agrees that none of the buyers’ rights, or Moran’s
    rights or obligations, under the Conditions of Sale apply to the Consignor’s benefit. In some instances, Moran may
    pay out of its commissions a fee to any third-party introducing Property or consignors to them.



4. SALE CONDUCT AND RESERVES. It is mutually agreed that all Property will be sold (unless agreed to be sold
   privately or in a marketplace setting) via the highest bid attainable by public auction (the “Hammer Price”) pursuant
   to the terms noted on the Receipt. Unless otherwise agreed, all Property shall be offered at auction without reserve.
   Should the Consignor wish to place a reserve on any lot above 50% of the low estimate and that lot fails to sell, it is
   subject to a $100 handling fee. Reserves are not permitted for Property estimated at $500 and below. All bids to
   protect the reserve, if any, will be made by Moran’s representative on the Consignor's behalf.

    Moran may sell any Property below its reserve, provided the Consignor receives payment, subject to the terms stated
    on the Receipt, which the Consignor would have received had that Property been sold at the reserve. In either case,
    once the Property is sold, the Consignor will net the amount if sold at the reserve unless agreed to otherwise in
    writing. The Consignor expressly agrees that email or facsimile communication shall be binding as to establishing
    or reducing reserves or estimates. Moran makes no guarantee with respect to the ultimate sale price, nor is Moran
    liable for the failure of any lot to reach an agreed reserve or sell within its estimated range.

    Should the Property remain unsold, Moran may elect to reoffer the Property in a future sale with a reduced estimate
    and reserve. Upon notification in writing (including e-mail) to the Consignor, the Consignor will have two weeks to
    respond to the re-offer notice. If no response is received, the Consignor will be deemed to have agreed to the revised
    estimate and reserve.

    Consignors, their agents, or their representatives are forbidden from bidding on Property they have consigned. If the
    Consignor violates this term and subsequently become the successful bidder, Moran will return or re-offer the
    Property only after any fees due (including Buyer’s Premium and Seller’s Commission) have been paid.

5. INSURANCE. The Property will be insured at the Consignor's expense (unless otherwise agreed in writing) while
   on Moran’s premises or otherwise under Moran’s care and control at the cost of 1% of:

         a.   the mean pre-sale estimate (as indicated on the Receipt);

         b. the final bid price if sold; or

         c.   the reserve if offered on the marketplace or unsold (or if no reserve then ½ the low estimate);



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    less the amount of any commissions and fees due to Moran. This fee applies whether or not Moran chooses to self-
    insure.

    Moran is not liable for loss or damage to the Property, including, but not limited to, frames and picture glass, resulting
    from:

         a.   third parties retained by the Consignor, regardless of recommendation;

         b. conservators, restorers, testers, framers, or other independent contractors employed with the Consignor’s
            consent;

         c.   normal wear and tear or inherent defects in the Property; or

         d. events beyond Moran’s control including, but not limited to, earthquake, flood, fire, government action, riot,
            power failure, and acts of war or terrorism—including radioactive, chemical, or biological contamination.

    In an event resulting in partial loss or damage, and where Moran has accepted responsibility, Moran’s liability is
    limited to the amount of depreciation of the Property. Moran has the sole discretion to determine the diminution of
    value of the Property. In no event shall Moran be liable for incidental, indirect, special or consequential damages of
    any nature including, but not limited to, lost profits.

6. WITHDRAWALS. No Property may be withdrawn without Moran’s consent. Should Moran consent to a
   withdrawal, before the Property is released, the Consignor shall compensate Moran in an amount equal to twenty
   percent (20%) of the mean estimate in consideration of forfeited commissions and Buyer's Premium, applicable
   insurance and illustrations fees, as well as any out-of-pocket expenses incurred by Moran. Moran reserves the right
   to withdraw any Property from any auction at any time.

7. RESCISSION. All property will be sold “as-is” and “where-is” without any representations or warranties. The
   Consignor agrees that each lot will be offered will include the following notice:

    “…sold ‘as-is, where-is’ without any representations or warranties. All sales are final”

    Additionally, each lot will be identified as being sold by the bankruptcy estate of Thomas Vincent Girardi and that
    assets will be sold to help pay off creditors.

8. UNSOLD PROPERTY. Any unsold Property that has not been re-consigned for a future auction must be picked up
   with within sixty (60) days of the last auction. Unsold Property remaining onsite and not consigned to a future auction
   will incur a $100 administration fee and a ten dollar ($10) per lot, per day storage fee. The Consignor agrees that
   Moran is not liable for any loss or damage to the Property after the sixty (60) day grace period has ended. Ninety
   days (90) after the last auction, Moran may elect to sell the Property in accord with provisions of California state law
   and the UCC unless otherwise agreed. Any sale under this Section 10 shall be without regard to the reserve, and shall
   be subject to Moran’s standard commission rates, unpaid charges, and fees incurred to the Consignor's account. The
   net proceeds of such a sale shall be then applied to the costs of storage and sale of the Property (including reasonable
   expenses and attorney fees) and the excess, if any, will be remitted to the Consignor, or, in the event that Moran is
   not able to locate or contact the Consignor, disposed of as required by law.

    Unless otherwise agreed to in writing, the Consignor is r0esponsible for the cost of the return of any unsold property.

9. SELLER’S COMMISSION. For Moran’s services, the Consignor agrees to pay to Moran a “Seller’s Commission”
   of 6%.




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10. SALE SETTLEMENT. Upon payment by the buyer, Moran shall release to the Consignor the gross proceeds of sale
    (being the Hammer Price, Buyer’s Premium and any applicable taxes) for sold Property seven (7) days from each
    respective auction date. Sums of additional proceeds collected after the initial remittance, will be remitted to the
    Consignor every 7 days thereafter. Payments made by wire transfer may incur additional bank fees. Moran assumes
    no responsibility for and is under no obligation to sue or otherwise enforce, payment by any buyer. No later than 21
    days after the auction, Moran shall prepare and submit to the Consignor an auction report which will include: The
    lot number and description of each item sold, the date of sale, sale price, name, address and telephone number of
    purchaser; the gross proceeds from the sale, a statement that the gross proceeds have been turned over to the
    Consignor, and a descriptive list of the items that were not sold but which are to be returned to the Consignor. All
    proceeds of the sale, including the buyer’s premium shall be remitted to the Trustee. Upon receipt and review of the
    auction report, Trustee shall pay Moran for any fees and expenses required and provided for within this Agreement
    in accordance with the authorization of the US Bankruptcy Court.

11. ENDANGERED SPECIES. Any Property made of or incorporating endangered or protected species or wildlife that
    is in violation of federal or state laws may not be publicly sold. The Consignor is aware of such restrictions and
    agrees that Moran is not liable if such Property is withdrawn by Moran or is otherwise confiscated by state or federal
    agencies.

12. ENTIRE AGREEMENT. This Agreement constitutes the sole and entire agreement of the parties with respect to the
    subject matter contained herein, and supersedes all prior and contemporaneous understandings and agreements, both
    written and oral, with respect to such subject matter.

13. GOVERNING LAW. The rights and obligations of the parties with respect to this Agreement and the conduct of the
    auction shall be governed and interpreted by the laws of the State of California.

14. DISPUTES. The Bankruptcy Court for the Bankruptcy Case shall have sole jurisdiction to resolve all disputes
    relating to this Agreement and the sale of any Property.

15. SEVERABILITY. Should any of these conditions be deemed unenforceable, invalid, or illegal in any court having
    jurisdiction, that part shall be severed from this Agreement and shall have no effect on the enforceability of the
    remaining provisions contained herein, which shall remain valid to the fullest extent permitted by law.

16. SUCCESSORS AND ASSIGNS. This Agreement shall be binding upon and shall inure to the benefit of the Parties
    and their respective successors and assigns. The Consignor may not assign its rights or obligations hereunder without
    the prior written consent of Moran.

17. AMENDMENT AND MODIFICATION. This Agreement may only be amended, modified, or supplemented by an
    agreement in writing signed by each party hereto.

18. WAIVER. No waiver by any party of any of the provisions hereof shall be effective unless explicitly set forth in
    writing and signed by the party so waiving. No failure to exercise, or delay in exercising, any right or remedy arising
    from this Agreement shall operate or be construed as a waiver thereof; nor shall any single or partial exercise of any
    right or remedy hereunder preclude any other or further exercise thereof or the exercise of any other right or remedy.

19. INTERPRETATION; HEADINGS. This Agreement will be construed without regard to any presumption or rule
    requiring construction or interpretation against the party drafting an instrument or causing any instrument to be
    drafted. The headings in this Agreement are for reference only and do not affect the interpretation of this Agreement.




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20. SIGNATORY / LEGAL REPRESENTATIVE. Please indicate by initialing the appropriate section below if you are
    either the legal representative of an estate, trust, or corporation or acting as an agent for the Consignor and write the
    legal name of the principal.

    I am acting on behalf of an estate, trust, or corporation: ________ (initial)
    Name and type of entity: _________________________________________________
    I am an agent for the Consignor: ________ (initial)
    Consignor’s name: ______________________________________________________
21. USE OF NAME AND/OR TITLE. The Consignor authorizes Moran to use the following name(s) for promotional
    purposes.



    Name: _________________________________________________

I have read and agree to this Agreement and acknowledge receiving of a copy of the accompanying Receipt.

________________________________                              ________________________________
Consignor’s Name                                              Date




________________________________                              ________________________________
First and Last Name, Title                                    Date
John Moran Auctioneers, Inc.




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   Jeffrey John Moran
   ______________________________________________________________________________

   145 East Walnut Ave., Monrovia, CA 91016 jeff@johnmoran.com                mobile: 626-485-0197

   Experience

   John Moran Auctioneers, Incorporated, Monrovia, CA                             June 1986 - Present
   President & Auctioneer – Over 100 million in sales in last five years.

   Manage daily operations of a 50-year-old, family-owned auction company.
   Nurture existing client relationships and develop new client contacts.
   Negotiate commission sales of fine art and antiques.
   Develop and implement cost-effective marketing strategies to counter competition.
   Expand and embrace new technology in the marketing and sale of old-world objects.
   Provide market valuations and inventories for client property.
   Maintain a challenging, yet positive work environment for my staff.
   Develop and implement an enriching internship program.
   Collaborate with art conservators and historians to preserve research and exhibit American art.
   Reduce operating expenses while increasing company’s net profitability.

   Los Angeles County Sheriff’s Department                               October 1989 – Present
   Training Officer/Reserve Deputy Sheriff – Over 1000 career operations.

   Altadena Mountain Rescue Team – Responsible for coordinating searches and rescues in the San
   Gabriel Mountains and assists to other operations in areas within Los Angeles County. Integrate
   with multi-agency responses to major accidents. Training Officer: Schedule weekly and monthly
   trainings for 25 team members. Prepare Team for annual accreditation in technical peer
   evaluation. Test and evaluate each team member for proficiency on annual basis.
   Rescue systems analysis/test new equipment and procedures to increase safety and efficiency.

   Emergency Operations Bureau – Diplomatic Protection Unit: Provide protection for visiting
   dignitaries for State Department. Work aside US Secret Service for highest-level government
   officials and visiting dignitaries. Counter-Terrorism Unit: Participate in undercover details and
   trainings, provide security & emergency medical care during in-depth surveillance operations.

   Pasadena Museum of California Art                                        April 2005 – January 2017
   Board Member

   Support PMCA Museum Director and Staff in fulfilling immediate and future goals. Implement
   and adhere to newly developed strategic plan. Work with Museum Director and other museums
   in developing/identifying future exhibits. Headed search committee to interview candidates for
   position of Museum Director. Developed performance-based goals for new Museum Director.
   Currently working with City of Pasadena to mitigate existing building code and fire zone issues.
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   Education

   Claremont Graduate University - Peter F. Drucker and Masatoshi Ito School of
   Management, Executive Management Program, MBA Honors Graduate, Claremont, CA,
   2011 – 2013.

   United States Naval Hospital (Uniformed Services University), Emergency Medical
   Course/Live Tissue Program, Deployment Medicine International, Dr. John Hagmann. Bethesda,
   MD, August 2009.

   New Mexico Tech (Department of Homeland Security), Energetic Materials Research and
   Testing Center, Technical Instructors Course, ITRB, Socorro, NM, December 2007

   American Society of Appraisers, Uniform Standards of Professional Appraisal Practice
   (USPAP), CA 2006 (Renewed 2021)

   Sotheby Institute for Art/NYU, Appraisal Certificate Program, New York, NY, 1996.

   University of California, Santa Cruz (Sierra Institute), Sustainability, Philosophy, and
   Religion, Santa Cruz, CA, 1992.

   Los Angeles County Sheriff’s Academy, Reserve Deputy Sheriff, Los Angeles, CA, June 1990

   Pasadena City College, Emergency Medical Technician, Pasadena, CA, June 1990.

   Achievements/Awards

   Los Angeles County Sheriff’s Department, 30-year service award, November 2020
   Mountaineer of the Year Award, Altadena Mountain Rescue Team, 2004
   Recognition for Outstanding Service in Search and Rescue, California State Assembly, 1998
   Outstanding Development of a Training Program, Mountain Rescue Association, 1998
   One of seven authors to rewrite training guidelines for Los Angeles County Search and Rescue
   Program, 1998.


   Presentations/Lectures (partial list)

   Morgan Stanley, Doolin Group, Gardeners, Gifts and Garbage, January 2019
   Morgan Stanley, Doolin Group, Fakes, Frauds & Forgeries, Pasadena, January 2018
   Wells Fargo Private Client Group, Fakes, Frauds & Forgeries, Pasadena, CA 2017
   Huntington Library, Gardeners, Gifts and Garbage, San Marino, CA November 2016
   U.S. Trust, Private Client Group, Gardeners, Gifts and Garbage, Irvine, CA October 2015
   U.S. Trust, Private Client Group, Fakes, Frauds & Forgeries, Irvine, CA March 2015
   Morgan Stanley/Doolin Group, Gardeners, Gifts and Garbage, Pasadena, 2015
   Keck School of Medicine, University of Southern CA, Physician’s Family and Friends Group,
   Gardeners, Gifts and Garbage, Los Angeles, CA, November 2012
   U.S. Trust, Private Client Group, Gardeners, Gifts and Garbage, Pasadena, CA, August 2012
   Pasadena Museum of History, Gardeners, Gifts and Garbage, Pasadena, CA, May 2012
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   The Questers, Gardeners, Gifts and Garbage, Altadena, CA, May 2012
   Pasadena Bar Association, Women’s Focus Group, Gardeners, Gifts and Garbage, April 2012
   La Canada Women’s Club, Recognizing Value, Altadena, CA, April 2012
   San Gabriel Valley Fiduciary Roundtable, Recognizing Value, University Club, Pasadena, CA
   December 2012

   Professional Organizations

   National Auctioneers Association
   Huntington Library, Society of Fellows
   Pasadena Museum of History, Founders Circle
   Mountain Rescue Association
   Wilderness Medical Association
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                            EXHIBIT “3”
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Bond Number: 08■ 7240


                               AUCTIONEER BOND

KNOW ALL MBN BY THESE PRESENTS that we,      」OHN MORAN AUCTIONEERS, INC.
 (hereinafter called Principal), as Principal, and the HARCO NAT■       ONAL
INSURANCE COMPANY′ its home office in Raleigh′       Nc 27605
(hereinafter called Surety)′ as Suretỳ are held and fi.ully bound
unto the UNITED STATES OF AMERICA (hereinafter called Obligee)′ in
the full and just sum of TWO HUNDRED EIGHTY THOUSAND SEVEN HUNDRED
AND NO/■ 00 (5280′ 700 00)Dollars′ for the payment of which′ well and
truly to be made′ the principal and Surety hereby bind themselves′
their heirs, executors, administrators, successors and assigns,
jointly and severally′ fi. lly by these presents̲
NOW THERE「 ORE′ the condition of this obligation is such that if the
said Principal shall faithfully account for all money′        assets and
effects of bankruptcy case, THOMAS VINCENT CIRARDI, CASE
♯2:20‑BK‑2■ 020‑BR′ in Which the principal is serving as auctioneer′
then this obligation to be void′     otherwise to remain in fu■ l force
■n effect.

The liability of the Surety hereunder shall not exceed the aggregate
sum of TWO HUNDRED EIGHTY THOUSAND SEVEN HUNDRED AND NO/■        00
(S280,700 00)Dollars′ for all claims asserted against thiS bOnd.
This bond shall remain in full force and effect from              」UNE   ■7,   2022
to 」UNE ■7. 2023.

     SICNED AND SEALED THIS      ■7TH   day of    」UNE′   2022.


                  」OHN   MORAN AUCTIONEERS. INC

                 By:




                HARCO NATIONAL INSURANCE COMPANY

                 By:
                       CATHERINE C KEHOE,ATTORNEY―          ￨
        Case 2:20-bk-21020-BR                         Doc 341 Filed 06/21/22 Entered 06/21/22 12:51:57                                         Desc
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                                                        POWER OF ATTORNEY                   Bond#
                                            HARCO NAT:ONALINSURANCE COMPANY
                                      lNTERNAT:ONAL F:DELITY:NSURANCE COMPANY
          Member cOmpanios oflAT insurance CrOup,Headquartered:702 0berlin Ro● d,Ra:oigh,North Carolina 27605



KNOW ALL MEN BY THESE PRESENTSIThatHARCO NA￢ ONAL:NSuRANCE COMPANY aco"oraい on organ zed and exislng underthe laws                                    of
           。s andlNTERNA■ ONAL F:DELITV!NSuRANCE COMPANY a∞ rpOralon o「 gan zed and ex sting underthe laws orthe state of
the State of‖                                                                                                                                         New
」ersey and having
              "ぃ their p「 ncipal o輌 ces located respectively in the aties of Rollng Meado¨        ‖Inois and NeWark,NeW Jersey,do hereby constitute and
appoint
  LINDA C SHEFFIELD,CONWAY C MARSHALL STEPHEN BEAHM,DAVID C UOSEPH 」ESSICA PALMERL ROXANNE CRAVEN ANDREA
  BECKER CLARK P FIT2‐ HUGH DARLENE A BORNT CATHERINE C KEHOE,KRISTINE DONOVAN ELIZABETH W KEARNEY

  New OHeans,LA
the r true and lawlul attorney(s)in― facl to execute, seal and delver for and On its behar as surety any and al bonds and undertakings contracls of
indemnlly and other w71lings oblgatory in the nature thereor,which are or may be anowed,required o「    permitted by law statute,rule,regulation,contracl
or othenMse and the execulon or such instrument(s)in pursuance of these presents, sha‖                  be as binding upOn the said HARCO NAT!ONAL
!NSuRANCE COMPANV andlNTERNA￢ ONAL F!DELITYINSURANCE COMPANV,as fu‖ y                              and amply,to a‖   intents and purposes,as rthe same had
been duly execmed and ackぃ ovdedged by the r regula"y elected omcers atthelr prindpa1 0fFces
Th s Power of Attorneyis executed,and may be revoked pursuantio and by authOnty Ofthe By Laws of HARCO NA￢ ONAL:NSuRANCE COmPANY
and lNTERNAT10NAL FIDELITγ lNSuRANCE COMPANY andis granted under and by authonty Ofthe ro‖ owing resolulon adopted by the Board of
 DrectorsorlNTERNAl10NALFIDEL1lγ lNSURANCECOMPANVatameetingdulyheldonthe 13thdayof December 2018                                and bythe Board Or
 DireCtors of HARCO NAT10NAL INSuRANCE COMPANV ata meelng he d onthe 13th day of December 2018
・RESOLVED that(1)the Chief ExeCutive o価 ce「 President Execu,ve Vice president Senio「 Vice President V ce President o「 Secretary of the
 Corpo「 ation shal have the pOwerto appoint,and to revoke the appointments of Attomeys in̲Facl or agents uth power and aulい orty as denned orlim ted
 in the,「 「espective p。 ぃers of anorney and to execute on behalf of the Corporaton and afrx the cOnporation.s seal thereto, bonds undertakings
 recognizances.contracls ofindemnlly and otherぃ ″itten ob‖ gat Ons in the nature thereof or related theretol and(2)any suCh Omcers Ofthe Co「 p。「at on
 may appoint and revoke the appointments ofioint‐ COntrol custodians agents fOr acceptance of process and Attomeys‐ in fact Ⅷth authorty to execute
 waive「 s and consents on beha f ofthe CorpOrat oni and(3)the signature of any sucい OfFcer o「 the co"oraton and the Co「 po「 at on's seal may be a xed
 by racsimile to any power of attorney o「 certincatiOn given for the execut on or any bOnd undertaking recognizance contract orindemnity o「       other written
 ob gat on in the nature thereof or related thereto.such signature and seals when so used whether heretofore o「         hereater being hereby adopted by the
 Corporat on as the o19inal Signature oF suCh Ofrcer and the onginal seal ofthe Corporat on to be va‖        d and binding upon the Co「 poration口 th the same
 force and eFFecl as though manualy a    xed"

                                        INヽハЛ TNESS VVHEREOF HARCO NA￢ ONALlNSuRANCE COMPANY andlNTERNAT:ONAL
                                        FlDELITY INSuRANCE COMPANY have each executed and attestedthese presents
                                        onthis 31st day of December 2018

                                  STATE OF N口      V」   ERSEY                                                 STATE OFILL NOIS
                                  County o「   Essex                                                           County of Cook




                                                  Executive Vice President, Harco National lnsurance Company
                                                  and lntemational Fidelity lnsurance Company


 OnthiS 31st day of December.2018           .before me came the individual who exealled the preceding instrument to me personally known,and,
 be ng by me du y sworn sald he s the therein descnbed and aulhonzed ofFcer of HARCO NA￢             ONALlNSuRANCE COMPANY and
 INTERNA￢ ONAL FlDELITY:NSuRANCE COMPANVilhatthe seals afrxed tO said instrument are the Corporate Seals OfSald Companiesithatthe
 said Corp。「ate Seals and his signature were duly attxed by Order ofthe Boards of DireCto「    s of sald Companies


                                              lN TESTIMONY WHEREOF, I have hereunlo set my hand affixed my Official Seal, al the City of
                                                                                                                                         Newark'
                                               New Jersey the day and year first above written.




                                                                                                      My cOmmiss on Expres Apn14 2023
                                                                     CERTIFICATION

 l, the undersigned ofiicer of HARCO NAnONAL TNSURA CE COIPANY and
                                                                                    Ii{TERNATIO}IAL FIDELITY INSURANCE COI{PANY do hereby certify
                                                                                    and the copy of the Sections of the By'Laws of said Companies as sel
 that I have compared tne roregoing copy oitne eoweiot attomey ano aflidavit,
                                                       tte in me no-rre omce  of said compan'e;, and that the same are-conect lranscripls thercof' and of the
 forth in said Pou/er of Anorney, wilh the ongi;;ls on
                                                pou/er of Attorney has  not been  revoked  and is now in full force and efiect
 *t oi" otit ,iio originals, ano trat ttre saii
             "
  tN TESTIMONY wtiEREOF, I have hereunto set my hand
                                                     on this day
                                                                          '   0d17n022



   A00586
                                                                                                                      λ慇
                                                                                                             lrene Martins, Assistant Secretary
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  1
                                    PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 2818 La Cienega Avenue, Los Angeles, CA 90034

      A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S MOTION FOR
  4   ORDER: (1) AUTHORIZING EMPLOYMENT OF JOHN MORAN AUCTIONEERS, INC. AS
      AUCTIONEER; (2) AUTHORIZING SALE OF CERTAIN PERSONAL PROPERTY OF THE ESTATE;
  5   AND (3) AUTHORIZING ABANDONMENT OR DESTRUCTION OF CERTAIN PERSONAL PROPERTY
      OF THE ESTATE will be served or was served (a) on the judge in chambers in the form and manner
  6   required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On June 21, 2022, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  9   receive NEF transmission at the email addresses stated below:

 10            Rafey Balabanian rbalabanian@edelson.com, docket@edelson.com
               Shraddha Bharatia notices@becket-lee.com
 11            Ori S Blumenfeld oblumenfeld@laklawyers.com,
                nlessard@laklawyers.com;smcfadden@laklawyers.com
 12            Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
               Richard D Buckley richard.buckley@arentfox.com
 13            Indira J. Cameron-Banks indira@cameron-banks.com, tiffany@cameronbankslaw.com
               Marie E Christiansen mchristiansen@vedderprice.com,
 14             ecfladocket@vedderprice.com,marie-christiansen-4166@ecf.pacerpro.com
               Jennifer Witherell Crastz jcrastz@hrhlaw.com
 15            Ashleigh A Danker adanker731@gmail.com
               Clifford S Davidson csdavidson@swlaw.com, jlanglois@swlaw.com;cliff-davidson-
 16             7586@ecf.pacerpro.com
               Joseph C Delmotte ecfcacb@aldridgepite.com,
 17             JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com
               Lei Lei Wang Ekvall - DECEASED - lekvall@swelawfirm.com,
 18             lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
               Timothy W Evanston tevanston@swelawfirm.com,
 19             gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
               Jeremy Faith Jeremy@MarguliesFaithlaw.com,
 20             Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithla
                w.com
 21            James J Finsten , jimfinsten@hotmail.com
               James J Finsten jfinsten@lurie-zepeda.com, jimfinsten@hotmail.com
 22            Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
                lawyers.net,addy.flores@flpllp.com
 23            Larry W Gabriel lgabrielaw@outlook.com, tinadow17@gmail.com
               Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 24            Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
               Andrew Goodman agoodman@andyglaw.com,
 25             Goodman.AndrewR102467@notify.bestcase.com
               Suzanne C Grandt suzanne.grandt@calbar.ca.gov,
 26             joan.randolph@calbar.ca.gov;vanessa.holton@calbar.ca.gov;robert.retana@calbar.ca.gov
               M. Jonathan Hayes jhayes@rhmfirm.com,
 27             roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;r
                uss@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosari
 28             o@rhmfirm.com
               Marshall J Hogan mhogan@swlaw.com, knestuk@swlaw.com

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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               Bradford G Hughes bhughes@Clarkhill.com, mdelosreyes@clarkhill.com
  1            Razmig Izakelian razmigizakelian@quinnemanuel.com
               Lewis R Landau Lew@Landaunet.com
  2            Craig G Margulies Craig@MarguliesFaithlaw.com,
                Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithla
  3             w.com
               Peter J Mastan peter.mastan@dinsmore.com,
  4             SDCMLFiles@dinsmore.com;Katrice.ortiz@dinsmore.com
               Edith R. Matthai ematthai@romalaw.com, lrobie@romalaw.com
  5            Daniel J McCarthy dmccarthy@hillfarrer.com,
                spadilla@hillfarrer.com;nchacon@hfbllp.com
  6            Jack Meyer jmeyer@ggtriallaw.com
               Elissa Miller emiller@sulmeyerlaw.com,
  7             emillersk@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
               Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
  8            Scott Olson scott.olson@bclplaw.com, scott-olson-
                2161@ecf.pacerpro.com,ecfsfdocket@vedderprice.com,nortega@vedderprice.com
  9            Carmela Pagay ctp@lnbyg.com
               Carmela Pagay ctp@lnbyb.com
 10            Ambrish B Patel apatelEI@americaninfosource.com
               Leonard Pena lpena@penalaw.com,
 11             penasomaecf@gmail.com;penalr72746@notify.bestcase.com
               Michael J Quinn mquinn@vedderprice.com, ecfladocket@vedderprice.com,michael-
 12             quinn-2870@ecf.pacerpro.com
               Matthew D. Resnik matt@rhmfirm.com,
 13             roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;pri
                scilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;davi
 14             d@rhmfirm.com;sloan@rhmfirm.com
               Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
 15            Kevin C Ronk Kevin@portilloronk.com, Attorneys@portilloronk.com
               Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
 16            William F Savino wsavino@woodsoviatt.com, lherald@woodsoviatt.com
               Najah J Shariff najah.shariff@usdoj.gov, USACAC.criminal@usdoj.gov
 17            Gary A Starre gastarre@gmail.com, mmoonniiee@gmail.com
               Richard P Steelman rps@lnbyg.com, john@lnbyb.com
 18            Philip E Strok pstrok@swelawfirm.com,
                gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
 19            Terrence Swinson terrenceswinson@gmail.com
               Boris Treyzon btreyzon@actslaw.com, sgonzales@actslaw.com
 20            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
               Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
 21            Timothy J Yoo tjy@lnbyb.com

 22
      2. SERVED BY UNITED STATES MAIL: On June 21, 2022, I served the following persons and/or
 23   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 24   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 25
      Thomas Vincent Girardi                                                 Thomas Vincent Girardi
 26   1126 Wilshire Boulevard                                                Belmont Village Senior Living
      Los Angeles, CA 90017                                                  455 East Angeleno Avenue
                                                                             Burbank, CA 91501
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Thomas Vincent Girardi                                                 Honorable Barry Russell
      100 N. Los Altos Drive                                                 U.S. Bankruptcy Court
  2   Pasadena, CA 91105                                                     255 E. Temple St., Suite 1660
                                                                             Los Angeles, CA 90012
  3
      John Moran Auctioneers, Inc.
  4   145 East Walnut Ave.
      Monrovia, CA 91016
  5
                                                                              Service information continued on attached page
  6
  7   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  8   on June 21, 2022, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  9   mail to, the judge will be completed no later than 24 hours after the document is filed.
 10   None.
 11
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 12   true and correct.
 13    June 21, 2022                Stephanie Reichert                                   /s/ Stephanie Reichert
       Date                         Type Name                                            Signature
 14
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 27
 28

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
